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         EXHIBIT 52
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       From:          Grant, Anthony [/O=HARVARD-FAS/OU=EXCHANGE ADMINISTRATIVE GROUP
                     (FYDIBOH F23SPDLT)/CN=RECIPI ENTS/CN=ACGRANT]
       Sent:         Wednesday, January 09, 2013 7:57:45 PM
       To:           Fitzsimmons, William; Pacholok, Olesia
       Subject:      message

         Redacted:    originally'99 college, but     Redacted:        graduated 11/2002) is working to debunk the Asian/Jewish
       article you mentioned in staff. She's comparing the stats from the Provost's office with our stats and according to her,
       they are very different. She has talked with someone in the Provost's office, but wants to chat with you about how the
       data is collected and why the numbers are different.
       She lives in the Central time zone and says that it's best to reach her in the afternoon at   Redacted:
       —A
       Anthony C. Grant
       Admissions Rep., Manager
       Harvard College Office of Admissions
       Visitor Center, Agassiz House
       5 James Street
       Cambridge, MA 02138




CONFIDENTIAL                                                                                                               HARV00005071
